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 8
 9                                UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
10
                                           OAKLAND DIVISION
11
12   WHATSAPP INC., a Delaware                     Case No. 4:19-cv-07123-PJH
     corporation, and FACEBOOK, INC., a
13   Delaware corporation,                         DECLARATION OF M. ROBERT
                                                   THORNTON IN SUPPORT OF
14          Plaintiffs,                            OPPOSITION TO WHATSAPP’S
                                                   MOTION TO DISQUALIFY DEFENSE
15                                                 COUNSEL BASED ON PRIOR
          v.
16                                                 REPRESENTATION IN A SEALED
     NSO GROUP TECHNOLOGIES                        MATTER
17   LIMITED AND Q CYBER
     TECHNOLOGIES LIMITED,                         Hearing Date: June ___, 2020
18                                                 Time:         9:00 a.m.
                          Defendants.              Courtroom:    3, 3rd Floor
19
                                                   Judge:        Honorable Phyllis J. Hamilton
20
21               REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
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     DECLARATION OF                               1               Case No. 4:19-cv-07123-PJH
     M. ROBERT THORNTON
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 EXHIBITS 1 –
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  SEALED IN
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